             Case 2:21-cv-00029-RMP                  ECF No. 13          filed 06/01/21     PageID.81 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action
                                                                                                                   FILED IN THE

                                         UNITED STATES DISTRICT COURT                                          U.S. DISTRICT COURT
                                                                                                         EASTERN DISTRICT OF WASHINGTON

                                                                  for thH_
                                                     Eastern District of Washington                       Jun 01, 2021
                                                                                                              SEAN F. MCAVOY, CLERK

                CHARLES JOSEPH REEVIS,
                 also known as Redemption,                           )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:21-CV-00029-RMP
  U.S Department of Justice FBI Misconduct Division,                 )
Spokane County Superior Court and State Of Washington                )
  Department of Social and Health Behavioral Health
        Administration Eastern State Hosptile,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED with prejudice as frivolous, malicious, and for failure to state a claim upon which relief may
u
              be granted under 28 U.S.C. § 1915(e)(2).




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge             Rosanna Malouf Peterson                                       .




Date: 6/1/2021                                                              CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                            Sara Gore
